                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00114
                                               )   JUDGE SHARP
CRUZ ALEJANDRO AVENDANO                        )


                                           ORDER

         Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket

No. 77).

         The motion is GRANTED and a change of plea hearing is hereby scheduled for

Thursday, May 22, 2014, at 2:30 p.m.

         It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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